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10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                No. CR 20-208-JFW
14
                Plaintiff,                    [PROPOSED] ORDER CONTINUING
15                                            SENTENCING HEARING
                      v.
16                                            [PROPOSED] SENTENCING DATE:
     GEORGE ESPARZA,                              10/27/2023 at 8:00 a.m.
17
                Defendant.
18
19

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21         The Court has read and considered the Stipulation to Continue
22   the Sentencing Hearing for defendant GEORGE ESPARZA, filed by the
23   parties in this matter.      The Court hereby finds that the Stipulation,
24   which this Court incorporates by reference into this Order,
25   demonstrates facts that support a continuance of the sentencing
26   hearing this matter, and provides good cause for continuing the
27   sentencing hearing, as requested by the parties.
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1          THEREFORE, FOR GOOD CAUSE SHOWN:

2          The sentencing hearing date for defendant ESPARZA in this matter

3    is continued from June 5, 2023 to October 27, 2023 at 8:00 a.m.

4          IT IS SO ORDERED.

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6
      DATE                                     HONORABLE JOHN F. WALTER
7                                              UNITED STATES DISTRICT JUDGE
8

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10   Presented by:
11
      CASSIE D. PALMER
12    Assistant United States Attorney
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